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14                            IN THE UNITED STATES DISTRICT COURT

15                         FOR THE EASTERN DISTRICT OF CALIFORNIA

16                                       SACRAMENTO DIVISION

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     RALPH COLEMAN, et al.,                               2:90-cv-00520 KJM-DB (PC)
19
                                            Plaintiffs, DEFENDANTS’ CLOSING BRIEFING
20                                                      FOLLOWING OCTOBER 23, 2020
                   v.                                   EVIDENTIARY HEARING ON
21                                                      TRANSFERS TO INPATIENT CARE

22   GAVIN NEWSOM, et al.,

23                                        Defendants.

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            Defs.’ Closing Briefing Following October 23 Inpatient Transfers Hearing (2:90-cv-00520 KJM-DB (PC))
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 1                                             INTRODUCTION

 2         Faced in March 2020 with an unprecedented pandemic that threatened the lives of patients

 3   and staff, the California Department of State Hospitals (DSH) suspended admission of patients

 4   from the California Department of Corrections and Rehabilitation (CDCR) to its inpatient

 5   hospital beds for thirty days. Shortly afterwards, DSH and CDCR, working closely with the

 6   Special Master’s experts in the COVID-19 Task Force framework ordered by the Court and with

 7   Plaintiffs’ full participation, created patient screening and transfer guidelines for Coleman

 8   patients. Over the last seven months, DSH and CDCR have continued to work within the Court’s

 9   COVID-19 Task Force structure to refine and adapt the screening and transfer guidelines.

10   Combined with other COVID-19 mitigation strategies that included robust screening of staff,

11   reduced patient movement, and the creation of isolation and quarantine space within their

12   facilities, the patient screening and transfer guidelines successfully prevented Coleman patients at

13   DSH from becoming infected with this deadly disease, while still ensuring the successful transfer

14   of over 100 Coleman patients since March.

15         As recently as July 30, Plaintiffs agreed that Defendants were continuing to ensure access

16   to inpatient care consistent with this Court’s orders, despite a pandemic. And at the evidentiary

17   hearing on October 23, Defendants conclusively demonstrated that DSH and CDCR have

18   complied with the Program Guide requirements for transfers to inpatient beds as modified by

19   COVID-19 screening and transfer guidelines that balance the dual imperatives of protecting the

20   health of patients and staff at DSH and CDCR facilities by minimizing the risk of COVID-19

21   transmission, and addressing some patients’ need for mental health treatment at another facility.

22   These guidelines include patient quarantine and testing requirements before and during transfers

23   to DSH, consistent with public health guidance provided to the agency clinicians. All agree that

24   this balancing of risks is necessary, and the October 23 hearing showed that Defendants are being

25   criticized for being too cautious in their efforts to limit and manage the spread of the coronavirus.

26         When patients are transferred to DSH beyond the Program Guide timeframes due to

27   quarantine and testing protocols contained in the COVID-19 guidelines, such deviations are

28   permitted under the Program Guide. In addition, such deviations are permissible because DSH
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 1   and CDCR have inherent authority to take immediate steps informed by their experts to respond

 2   to a public health emergency and limit the spread of COVID-19 between DSH and CDCR

 3   facilities. The guidelines represent a responsible balancing of risks inherent in patient transfers

 4   during the pandemic and comport with public health guidance. Plaintiffs’ infectious disease

 5   expert testified at the hearing that the agencies’ quarantine and testing protocols are too restrictive

 6   and not necessary to curb the spread of COVID-19 to DSH—that testimony lacks foundation and

 7   is based on a flawed understanding of DSH operations and the recent outbreaks throughout

 8   CDCR facilities. Moreover, the suggestion by Plaintiffs and their experts that Defendants should

 9   loosen COVID-19 precautions is irresponsible and hypocritical, especially when the same

10   Plaintiffs are arguing that Defendants are deliberately indifferent to the risks posed by COVID-

11   19, and when COVID-19 transmission rates are increasing at alarming rates across the state and

12   country. And while these necessary precautions may delay transfers temporarily at times, patients

13   are receiving mental health treatment while awaiting transfer. Plaintiffs’ mental health expert

14   provided no valid contrary testimony.

15         Since April, over 100 Coleman patients have safely and timely transferred to DSH inpatient

16   beds under the COVID-19 screening and transfer guidelines developed by DSH and CDCR with

17   input from the Special Master’s experts. DSH has accepted all patients but one referred to its

18   care. Indeed, of the 55 patients who were waiting at CDCR facilities to transfer to DSH in the

19   weeks before the October 23 hearing due to these facilities closing from movement as a result of

20   COVID-19 outbreaks, dozens have since transferred. Through the individualized review process
21   reached with the Special Master and his experts, patients will continue to transfer to DSH. The

22   transfer guidelines and other aspects of the agencies’ response to the COVID-19 pandemic are

23   continually discussed among the parties through the Court’s Task Force framework. If the Court

24   determines that further actions are needed concerning Coleman patient access to DSH, it should

25   refer these items to the Special Master’s Task Force.

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 1                                                 ARGUMENT

 2   I.    EVENTS LEADING TO THE OCTOBER 23 EVIDENTIARY HEARING.

 3         In March 2020, as the world began to realize the gravity of the COVID-19 pandemic, DSH

 4   and CDCR took immediate steps to protect patients and staff from the disease. Dr. Katherine

 5   Warburton, DSH’s Medical Director, testified that DSH quickly determined that preventing

 6   introduction of the disease into the agency’s facilities was critical because it could spread rapidly

 7   among the patient population that lived in congregate settings with shared spaces. (10/23/20 Hrg.

 8   Tr. at 41:15-22.) Accordingly, DSH suspended admissions for Coleman patients and almost all

 9   other patients, limited visitation, and commenced screening, temperature testing, and masking of

10   all staff to limit introduction of the disease. (Id. at 41:23-42:5.)

11         Following a March 20 status conference, the Court directed the Special Master to convene a

12   COVID-19 Task Force to assess the pandemic’s impact on the Coleman class and Defendants’

13   response to the pandemic. (3/20/20 Hrg. Tr. at 22:18-23:21; ECF No. 6513.) According to Dr.

14   Amar Mehta, CDCR Deputy Director of Statewide Mental Health Program, and Dr. Joseph Bick,

15   Director of Healthcare Services for CDCR and California Correctional Health Care Services, the

16   Task Force quickly convened and began addressing CDCR’s mental health program’s response to

17   COVID-19. (10/23/20 Hrg. Tr. at 95:3-20; 158:15-22.) The Task Force generated regular

18   weekly all-parties meetings and numerous small work groups comprised of agency program staff

19   and the Special Master’s experts, including a separate work group that Dr. Warburton attended

20   focusing on DSH transfers. (Id. at 95:21-96:6; 159:1-24.) Items identified in the large all-parties

21   meetings would be discussed at the smaller work groups, where Defendants’ clinicians and the

22   Special Master’s experts would address an issue and implementation plan, then return them to the

23   larger group for Plaintiffs to ask questions or suggest modifications. (4/10/20 Hrg Tr. at 12:8-18;

24   10/23/20 Hrg. Tr. at 96:11-22.)

25         On April 3, the Court ordered Defendants to show cause why they should not be ordered to

26   admit Coleman patients to DSH inpatient beds consistent with the admission protocols for

27   Offenders with Mental Health Disorders (OMHDs), a patient group whose admissions had not

28   been suspended in March due to state law requirements. (ECF No. 6572 at 2.) Following
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 1   Defendants’ response, the Court set a “focused” evidentiary hearing concerning Coleman class

 2   member access to DSH hospitals for April 21. (ECF No. 6600 at 4.) As DSH and CDCR’s

 3   response to the evolving pandemic took shape, including with the filing of CDCR’s Strategic

 4   COVID-19 Management Plan, the Court extended the hearing and further defined Defendants’

 5   obligation to transfer patients. (See ECF Nos. 6616, 6639.)

 6         On April 24, the Court directed that Coleman patient transfers to DSH inpatient beds occur

 7   consistent with Program Guide requirements, subject to a temporary modification “tailored to the

 8   current circumstances during which the coronavirus pandemic has not been curbed nor a cure

 9   identified. That modification allows that no transfers to DSH inpatient mental health care are

10   taking place without a COVID-19 screening.” (ECF No. 6639 at 10.) This screening was

11   contained in an April 5 CDCR memorandum titled “COVID-19 Screening Prior to Mental Health

12   Transfers.” (Id.; ECF No. 6616-1 at 237; Defs.’ Ex. 9.) This memorandum’s screening

13   requirements have since been incorporated in subsequent guidelines addressing transfers to DSH.

14   (See Defs’ Exs. 10, 12, 22; Pls.’ Ex. 101.) On May 7, the Court clarified that the issues for the

15   hearing are: (1) DSH and CDCR’s compliance with the Program Guide requirements, as modified

16   by the temporary addition of COVID-19 screening, for transfer of class members to inpatient

17   hospital beds; (2) if they are not complying with those requirements, in what way or ways are

18   they deviating from those requirements; and (3) the rationale for any deviation from compliance.

19   (ECF No. 6660 at 2.)

20   II.   DSH AND CDCR ARE COMPLYING WITH PROGRAM GUIDE REQUIREMENTS FOR
           TRANSFER OF PATIENTS TO INPATIENT BEDS, AS MODIFIED BY THE TEMPORARY
21         ADDITION OF COVID-19 SCREENING AND ATTENDANT TRANSFER GUIDELINES.
22         The April 5 COVID-19 screening memorandum was the first in a series of criteria

23   developed by DSH and CDCR to safely and responsibly transfer patients to DSH inpatient care.

24   Defendants’ screening and transfer guidelines have evolved with their understanding of the

25   pandemic, the need for balancing risks to safeguard patient health, and experiences in managing

26   this unprecedented health crisis. (10/23/20 Hrg. Tr. at 113:13-24.) Moreover, these guidelines
27   have been developed using individualized guidance provided by California Department of Public

28   Health experts and with the input of all relevant stakeholders, including the Special Master, his
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 1   extensive expert team, and Plaintiffs, particularly through this Court’s 39 Task Force meetings

 2   and the smaller work group meetings the Special Master organized to complement the Task

 3   Force. DSH and CDCR have been and are complying with the Program Guide’s requirements for

 4   inpatient transfers during the pandemic, as modified by the temporary addition of these screening

 5   and transfer guidelines.

 6         A.       Program Guide Requirements for Inpatient Transfers.
 7         The Mental Health Services Delivery System (MHSDS) Program Guide provides that for

 8   CDCR patients whose conditions cannot be successfully treated in an outpatient setting, they may

 9   be referred to inpatient programs provided by DSH. (ECF No. 5864-1 at 11.) These patients

10   must, in the judgment of their treating CDCR clinician, meet certain admission criteria for referral

11   to DSH for inpatient hospitalization. (Id. at 112-14.) Patients in need of inpatient care at DSH

12   must be transferred within 30 days, if accepted by DSH. (Id. at 18.) This 30-day transfer

13   timeframe may be temporarily suspended due to exceptions, including patient refusal to transfer,

14   placement of a medical hold on a transfer so that a more urgent medical condition can be

15   resolved, and unusual circumstances outside of the control of CDCR. (Addendum to Program

16   Guide Section 12.11.2101 (A); see ECF No. 5744.) Only patients needing Intermediate Care

17   Facility (ICF) level of care are transferred to DSH, which is defined as patients needing longer

18   intermediate and sub-acute mental health treatment. (ECF No. 5864-1 at 111.)

19         B.       Defendants Are Transferring Patients to DSH Inpatient Facilities Under
                    COVID-19 Screening Measures and Attendant Transfer Guidelines.
20
21         At the October 23 hearing, Dr. Mehta testified that CDCR’s April 5 memorandum

22   regarding COVID-19 screening for mental health patients prior to transfer reflected CDCR’s

23   balancing of risks associated with COVID-19 and the risk of death associated with mental health

24   causes, such as suicide. (10/23/20 Hrg. Tr. at 99:22-100:21.) According to Dr. Mehta, recent

25   statistics show that the death rate for CDCR inmates in the MHSDS from COVID-19 infection is

26   nearly ten times higher than the death rate from suicide among inmates in this same group, and
27   supports CDCR’s efforts to balance risks to keep its patients safe. (Id. at 100:22-101:11.)

28   Following the April 5 screening memorandum, CDCR developed subsequent memoranda that
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 1   incorporated its screening criteria, including the April 10 “COVID Emergency Mental Health

 2   Treatment Guidance and COVID Temporary Transfer Guidelines and Workflow.” (Defs’ Ex. 10;

 3   10/23/20 Hrg. Tr. at 108:1-22.) The April 10 guidance, created in collaboration with the Special

 4   Master’s experts, discussed guidelines for transfer to inpatient care, including possible quarantine

 5   and isolation, transfer procedures, and the inclusion of a “medical transfer note” that was identical

 6   to the COVID-19 screening criteria contained in the April 5 memorandum. (See, e.g., Defs.’ Exs.

 7   9-1, 10-4, 10-6.) CDCR mental health program staff later developed and released the “COVID-

 8   19 Temporary Guidelines for Transfer to DSH Inpatient Care,” which was based on the April 5

 9   and April 10 memoranda, and was intended to maintain consistency regarding DSH transfers.

10   (Defs.’ Ex 12; 10/23/20 Hrg. Tr. at 112:7-113:5.)1

11         As the pandemic continued to impact CDCR facilities, and more institutions began to close

12   to any type of movement due to COVID-19 outbreaks, a number of patients whom DSH had

13   accepted for admission but were not safe to move under the Defendants’ guidelines due to the

14   outbreaks at the sending facilities, could not transfer. As a result of this growing list of accepted

15   patients at institutions closed to movement, DSH then revised its guidelines in July to allow for

16

17          1
               These memoranda existed at the time of the April 24 order directing Defendants to
     comply with Program Guide requirements regarding patient transfer to DSH with the addition of
18   COVID-19 screening, and were known to the parties and the Court. (See ECF No. 6616 at 239.)
     Likewise, the Special Master reported during the April 17 status conference that “[a]fter several
19   revisions and approval from all of the parties, the so-called COVID-19 Temporary Transfer
     Guidelines and the COVID-19 Emergency Mental Health Treatment Guidance documents were
20   distributed to the institutions on the evening of April 10, 2020.” (4/17/20 Hrg. Tr. at 9:23-10:2
     (emphasis added).) Further, on May 18, Plaintiffs agreed “that Defendants current processes for
21   transferring class members to DSH hospital beds are consistent with Program Guide
     requirements, subject to temporary modifications to permit COVID-19 screening consistent with
22   this Court’s April 24, 2020 Order.” (ECF No. 6676 at 3.) Thus, it was acknowledged by all
     parties that Defendants were screening patients for transfer to DSH inpatient hospital beds under
23   guidelines that sprang from the April 5 memorandum, and these actions were based on similar
     concerns for patient safety and risks balancing—with full transparency among stakeholders. And
24   in a June 23 stipulation, Plaintiffs agreed that “Defendants are following the requirements of the
     Court’s April 24 order, and Defendants represent they are doing so. Additionally, on June 12,
25   2020, Defendants provided Plaintiffs with an updated proposed written protocol for transfers to
     DSH, which they revised and recirculated on June 19, 2020. Defendants developed these
26   protocols with the guidance of the Special Master’s experts and the parties are discussing them in
     the ongoing task force meetings.” (ECF No. 6734 at 4.) These facts show again that the initial
27   April 5 COVID-19 screening memorandum, which was intended to minimize the risk of
     transmission of COVID-19, was further developed into transfer guidelines following input from
28   all interested parties.
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 1   transfers from these closed prisons on a case-by-case basis and considering the risks for each

 2   patient. (10/23/20 Hrg. Tr. at 115:3-116:20; Defs.’ Ex. 22.)

 3         By the first week of July, the number of active COVID-19 cases among CDCR inmates

 4   peaked at 3,000. (10/23/20 Hrg. Tr. at 166:3-6; Defs.’ Ex. 43.) The dangers of the virus were a

 5   primary concern of health care leadership, which included the federal Receiver in Plata v.

 6   Newsom and his team, as they balanced how best to provide care to CDCR’s patients without

 7   needlessly exposing inmates and staff to the insidious disease. (Id. at 166:4-8.) According to Dr.

 8   Bick, CDCR then further revised its guidelines, relying on guidance from the federal Receiver,

 9   the Centers from Disease Control, and the California Department of Public Health to create a

10   movement matrix to minimize the risk of COVID-19 transmission for all CDCR inmates going

11   forward. (Id. at 163:3-164:1; Defs.’ Ex. 32.) As a result of this movement matrix, and the

12   updated guidelines allowing for case-by-case assessments of COVID risk, patient transfers to

13   DSH resumed and the number of patients awaiting transfer from closed institutions started

14   decreasing. (Id. at 168:13-169:5.)

15         Furthermore, DSH recently released its “Updated Draft COVID-19 Temporary Guidelines

16   for Transfer to DSH Inpatient Care.” (10/23/20 Hrg. Tr. at 119:19-120:1; Pls.’ Ex. 101.) This

17   policy, issued October 20, memorializes the process CDCR and DSH had already been operating

18   under for several weeks, to address transfers from institutions closed to movement, and which

19   have resulted in numerous transfers to DSH. (Id. at 120:8-121:22.) And according to Dr.

20   Warburton, Defendants’ initial development of its transfer guidelines were created after
21   consultation with California Department of Public Health staff and a bioethicist. (Id. at 51:6-21.)

22   DSH has carefully continued to develop its guidelines with public health expertise, and this

23   newest process “involves real time communication of public health data to try to identify

24   individuals in closed [CDCR] institutions who can safely transfer to [DSH].” As CDCR has been

25   providing thorough and accurate public health data to DSH about the actual risk to each patient,

26   this enabled approximately 26 of 55 inmates on the waitlist to transfer to DSH from prisons
27   closed to movement due to COVID-19 by the time of the October 23 hearing. (Id. at 50:1-10.)

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 1         Despite the significant challenges posed by the pandemic, CDCR has been complying with

 2   the Program Guide’s requirement for transfers of Coleman patients to DSH inpatient beds, as

 3   modified by the addition of COVID-19 screening and transfer guidelines. (10/23/20 Hrg. Tr. at

 4   113:6-24; 122:19-25.) Plaintiffs’ attempt to argue that a few patients in Salinas Valley State

 5   Prison’s Psychiatric Inpatient Program (PIP) transferred to DSH more than five days after a

 6   medical hold was lifted, and thus demonstrated noncompliance with transfer time lines, relies on

 7   a strained reading of the Program Guide. (Id. at 135:22-136:2; 138:14-139:13; 140:1-17; Pls.’

 8   Ex. 95.) These patients were transferring from one inpatient setting (Salinas Valley’s PIP) to

 9   another inpatient setting (DSH) within the same level of care; they were not patients waiting for

10   access to an inpatient bed. (See Pls.’ Ex. 95 at 2-4.) The five-day transfer timeline following

11   resolution of a medical hold, or other exception, is intended for patients in need of Acute or

12   Intermediate Care Facility beds, not patients already receiving that level-of-care. (Addendum to

13   Program Guide Section 12.11.2101 (A), ECF No. 5744.) The alleged delay in moving five

14   patients from one inpatient bed to another does not demonstrate that CDCR failed to comply with

15   Program Guide requirements concerning inpatient transfers to DSH. Instead, the evidence shows

16   that since the pandemic infiltrated state facilities in March 2020, CDCR and DSH have worked

17   together to transfer 111 patients to DSH inpatient beds under the COVID-19 screening and

18   transfer guidelines. (10/23/20 Hrg. Tr. at 88:4-7.) Defendants have demonstrated their

19   compliance with the Program Guide’s requirements.

20   III. ANY DEVIATIONS FROM THE PROGRAM GUIDE INPATIENT TRANSFER TIMEFRAMES
          ARE PERMITTED UNDER THE TRANSFER TIMEFRAME EXCEPTIONS OR AS
21        NECESSARY ACTIONS TO SAFEGUARD PATIENT AND STAFF SAFETY.
22
           To the extent that adherence to the COVID-19 transfer guidelines developed by DSH and
23
     CDCR has resulted in deviations from the Program Guide timeframes for the transfer of Coleman
24
     patients to DSH inpatient beds, such deviations are permitted under the Program Guide inpatient
25
     transfer timeframe exceptions. Addendum to 12.11.2101(A), PIP Policy and Procedure Referral
26
     and Admission provides that certain situations, including medical conditions and unusual
27
     circumstances, can temporarily suspend transfer timelines. (ECF No. 5744.) Delaying a patient’s
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 1   transfer to a DSH inpatient bed while, for example, awaiting completion of quarantine before

 2   transfer or receipt of COVID-19 test results for as little as a week or two falls within the medical

 3   conditions exception to the transfer timeframes. These situations also fall within the unusual

 4   circumstance exception, because neither CDCR nor DSH have sufficient control over testing

 5   times or the spread of this insidious disease, particularly where carriers can be asymptomatic.

 6   Application of these exceptions to Defendants’ transfer guidelines is further justified by

 7   Defendants’ legitimate balancing of the risks and benefits of enacting effective transfer policies

 8   and the consideration of public health guidance underlying those policies. (10/23/20 Hrg. Tr. at

 9   46:6-13; 169:12-24.) Timely transferring patients only for them to be infected with COVID-19

10   does not increase their access to mental health care. Instead, it results in unacceptable risks to

11   patients’ health and safety, without any benefitting care. Patients suffering COVID-19 must

12   isolate, further limiting their treatment and delaying improvement of their psychiatric symptoms.

13   Transferring patients timely, for timeliness sake, during an infectious disease pandemic, runs

14   contrary to public health guidance, puts Coleman patients at more risk for mental

15   decompensation, and erodes the parties’ commitment to providing access to mental health care.

16         To the extent that this Court determines that Defendants’ actions deviate from the Program

17   Guide’s requirements for inpatient transfers, such deviations are further authorized in response to

18   the COVID-19 public health emergency. The Supreme Court has recognized that unique public

19   health emergences, such as the outbreak of a deadly disease, temporarily shift the balance of

20   constitutional interests and give State officials greater leeway to take actions that infringe on
21   individual liberty. See Jacobson v. Commonwealth of Mass., 197 U.S. 11, 29 (1905) (upholding a

22   mandatory vaccination law with criminal penalties for noncompliance over a Fourteenth

23   Amendment challenge during a smallpox outbreak). Under the Jacobson framework, a public

24   health emergency magnifies the State’s inherent police power, granting it more flexibility to take

25   actions in pursuit of public health and safety, so long as these actions are not unconstitutional. Id.

26   at 24–31; see also In re Abbott, 954 F.3d 772, 784 (5th Cir. 2020) (“The bottom line is this: when
27   faced with a society-threatening epidemic, a state may implement emergency measures that

28   curtail constitutional rights so long as the measures have at least some ‘real or substantial
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 1   relation’ to the public health crisis and are not ‘beyond all question, a plain, palpable invasion of

 2   rights secured by the fundamental law.’” (quoting Jacobson)).

 3         Here, it is indisputable that the deviations from the Program Guide inpatient transfer

 4   timeline requirements contained in the CDCR and DSH transfer guidelines have a real and

 5   substantial relation to the public health emergency. The proposed deviations, developed in the

 6   COVID-19 Task Force structure, are designed to minimize the spread of infection between

 7   CDCR and DSH institutions, and among the Coleman class members and agency staff, by

 8   enacting responsible protocols for transfers to DSH inpatient beds. Such rationally-minded

 9   protective protocols are not “a plain, palpable invasion” of patients’ Eighth Amendment rights.

10   Jacobson, 197 U.S. at 31; see Toguchi v. Chung, 391 F.3d 1051, 1057 (9th Cir. 2004). Therefore,

11   under Jacobson, the temporary Program Guide deviations are permissible. See S. Bay United

12   Pentecostal Church v. Newsom, No. 19A1044, 590 U.S. --- (2020), 2020 WL 2813056 (May 29,

13   2020) (noting that the “Constitution principally entrusts ‘[t]he safety and the health of the people’

14   to the politically accountable officials of the States ‘to guard and protect,” and that “[w]hen those

15   officials ‘undertake[ ] to act in areas fraught with medical and scientific uncertainties,’ their

16   latitude ‘must be especially broad’”) (quoting Jacobson). The Court should reject Plaintiffs’

17   efforts to micromanage Defendants’ response while Defendants work to develop, implement, and

18   adjust measured and informed guidelines to keep inmates and staff safe.

19   IV.   DSH DOES NOT PRIORITIZE ADMISSION OF OFFENDERS WITH MENTAL HEALTH
           DISORDERS (OMHDS) AT THE EXPENSE OF COLEMAN CLASS MEMBERS.
20
21         Plaintiffs have repeatedly pointed to DSH’s admission of OMHDs over the past eight

22   months as evidence that DSH is prioritizing other patients over Coleman patients, as well as

23   claiming—without support—that if DSH can admit OMHDs safely, the same can be done for

24   Coleman patients. Notwithstanding how often Plaintiffs beat this drum, the contention is a red

25   herring that has no bearing on the questions asked by this Court. In actuality, DSH’s standard

26   process is the same for both OMHDs and Coleman patients—to test them and transfer only upon
27   receipt of a negative test. In the exceptional circumstance when DSH must admit an OMHD

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 1   patient without a test result, upon the expiration of their prison term at CDCR, the process carries

 2   far higher risks than the current process for admitting Coleman patients.

 3         As Dr. Warburton testified, at the onset of the pandemic, DSH sought to temporarily

 4   suspend all intake into its hospitals. (10/23/20 Hrg. Tr. at 57:4-6.) Movement is the fuel of

 5   COVID-19, and with little knowledge about the spread of the virus, let alone ways to treat it, this

 6   decision was made to protect the entire DSH patient population and staff, not just Coleman

 7   patients. DSH successfully halted admission of six out of seven patient types between March 16

 8   and April 16, but DSH does not have discretion to halt or even delay OMHD discharges to their

 9   facilities, either for COVID-19 screening or any other reason. See Cal. Penal Code § 2962. As a

10   condition of their parole, DSH admits OMHD patients to its facilities upon discharge from CDCR

11   for mental health care. These patients, who are Coleman patients until their moment of discharge,

12   have reached the end of their prison sentences and would be over-detained by holding them in

13   CDCR institutions. But they have been deemed a serious threat to their own safety and that of

14   others and legally must be committed to DSH care rather than paroled to the community. There

15   is no mechanism for holding these patients while awaiting a COVID-19 test, and if they reach

16   their parole date, they must be transferred to DSH or released to the community. As Dr.

17   Warburton testified, this has resulted in the transfer to a DSH inpatient facility of at least one

18   OMHD who tested positive for COVID-19. (10/23/20 Hrg. Tr. at 61:12-14.) This is by no means

19   a “safe” process, nor is it standard practice; when this occurs, it exposes transportation staff, DSH

20   physicians, and the entire patient population of DSH to infection. But it is the best of several bad
21   options. By contrast, this Court has authorized Defendants to perform necessary COVID-19

22   screening of Coleman patients before transferring them to inpatient care at DSH, a process that

23   resulted in zero known positive cases among DSH’s Coleman population as a result of transfers.

24   (10/23/20 Hrg. Tr. at 88:4-10.)2

25          2
               Plaintiffs argue that the OMHD transfer process could be used to transfer Coleman
     patients to DSH. But as Dr. Warburton stated, that could not be done safely. (10/23/20 Hrg. Tr.
26   at 70:15-21.) Requiring DSH to accept Coleman patients with a positive test result or high
     exposure risk would jeopardize the entire Coleman population who Plaintiffs claim have
27   heightened vulnerability to COVID-19. (ECF No. 6751.) Plaintiffs’ suggestions that Coleman
     patients could simply be admitted into quarantine space has no factual support or basis in public
28   health best practices.
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 1         Plaintiffs also accuse Defendants of preferential treatment in choosing to admit other

 2   patients to DSH over Coleman class members. But DSH has admitted over 100 Coleman patients

 3   since the pandemic began and has rejected only a single referral. (10/23/20 Hrg. Tr. at 88:4-7.)

 4   More importantly, Plaintiffs have not identified a single Coleman patient who was denied transfer

 5   to DSH because of lack of space. Delaying transfers of patients to ensure that COVID-19 is not

 6   introduced into DSH’s congregate living environment is a critical prevention tool, and one that

 7   has effectively protected Coleman class members from this deadly disease. Requiring Defendants

 8   to discard this tool and admit patients whom have not been tested or are COVID-19 positive, and

 9   who could otherwise continue to receive care while they stay at CDCR until those processes are

10   complete, would place Coleman patients—and DSH’s patients as a whole—at unnecessary and

11   grave risk. Coleman patients are not being put at the back of the line. To the contrary,

12   Defendants’ transfer and screening protocol are succeeding in keeping them safe.

13   V.    DR. LAURING’S TESTIMONY IS IRRELEVANT TO THE COURT’S INQUIRY.
14         Plaintiffs offered Dr. Lauring as an expert in infectious disease. (10/23/20 Hrg. Tr. at

15   214:16-17.) But his opinions concerning DSH treatment, facilities, and patients lack foundation,

16   are based largely on speculation, and do not help address the Court’s three questions. Dr.

17   Lauring’s background does not equate to expertise in providing care in any forensic psychiatric

18   hospitals. Instead, his experience is limited to working at a single University of Michigan

19   hospital with a variety of inpatient psychiatric units. (Id. at 232:23-233:14.) Moreover, he is not

20   familiar with DSH’s mission, its facilities’ layouts, or the Program Guide. (Id. at 239:32-23;
21   240:19-241:2; 234:1-24.) Dr. Lauring was also unfamiliar with the level of care DSH provides to

22   the Coleman class and the living conditions for patients transferred to DSH. (Id. at 237:3-9;

23   235:13-236:10.)

24         Dr. Lauring’s opinions are likewise unhelpful in answering the Court’s questions because

25   his criticisms of Defendants’ COVID-19 mitigation policies are not grounded in guidelines

26   designed for large locked forensic inpatient programs. (Id. at 227:20-228:13.) He opined that
27   Defendants’ COVID-19 mitigation policies, are inconsistent with public health guidance because

28   hospitals and other healthcare facilities “do not require a negative test before someone can be
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 1   admitted.” (Id. at 227:2-19.) But DSH is a long-term forensic psychiatric facility, not a

 2   behavioral health program. (Id. at 84:8-13.). For that reason, the California Department of Public

 3   Health publications proffered by Plaintiffs are not appropriate guidance for transfer and

 4   admission of patients to DSH facilities. (Pls.’ Exs. 103 and 107.) And Dr. Lauring is not aware

 5   of any specific COVID-19 guidelines that apply to state mental hospitals. (10/23/20 Hrg. Tr. at

 6   244:5-9.)

 7         Based on his review of Defendants’ transfer protocols, Dr. Lauring agreed that DSH’s

 8   protocols were acceptable and his only objection was to CDCR’s 14-day quarantine before

 9   transfer to DSH. (Id. at 221:3-222:11.) Dr. Lauring believes that the negative test requirement

10   and quarantine requirements set forth in CDCR’s Movement Matrix cause unnecessary delays

11   and holds up transfers. (Id. at 224:5-23, 225:2-7.) But as Dr. Bick testified, CDCR and DSH are

12   very different from a community mental health facility, and the quarantine, testing, and

13   movement procedures developed in the Movement Matrix reflect CDCR’s experience following

14   outbreaks in a large prison system that infected 15,000 inmates and caused 70 deaths. The goal

15   with CDCR’s matrix was to ensure that they did not inadvertently transfer infected people. (Id. at

16   289:13-23.) CDCR and DSH transfers are markedly different from community transfers, and

17   CDCR created its recent quarantine and testing protocols based upon their unique experience,

18   clinical judgment, and in consultation with the California Department of Public Health. (Id. at

19   290:3-14.) Indeed, Dr. Lauring’s criticism that Defendants are being too cautious with their

20   COVID-19 screening procedures is irresponsible and invites an unconscionable risk of harm for
21   CDCR and DSH patients. Agencies must be given due discretion to respond to emergencies—

22   DSH and CDCR developed quarantine testing procedures based on public health information and

23   evolving experience with the pandemic to protect their patients and the public. The Court should

24   reject Dr. Lauring’s testimony.

25   VI.   DR. STEWART’S TESTIMONY FAILED TO ESTABLISH THAT ANY CLASS MEMBER IS
           SUFFERING INDIVIDUALIZED HARM.
26
27         Plaintiffs identified Dr. Stewart as an expert in the field of psychiatry and correctional

28   psychiatry, and he was asked to provide opinions about whether 55 patients waiting for transfer to
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 1   DSH were experiencing any clinical harm and receiving adequate care while awaiting transfer.

 2   (10/23/20 Hrg. Tr. at 257:17-20; 258:5-12.) But Dr. Stewart’s testimony about the 55 patients

 3   was vague and highly speculative, and he testified only generally about the effects of delayed

 4   treatment, such as the potential for developing Alzheimer’s disease (id. at 258:24-259:4);

 5   worsening prognosis over a patient’s lifetime (id. at 259:5-8); and the potential for behavioral

 6   manifestations of mental illness when patients are treated at a level of care different than the

 7   patient’s needs. (Id. at 259:14-22.) None of this testimony is relevant.

 8         Dr. Stewart also testified that some of the 55 patients had diagnoses that are properly

 9   treated in an inpatient setting. (10/23/20 Hrg. Tr. at 264:1-5; 265:5-10; 265:21-24; and 266:7-12.)

10   But his opinions were based on a limited review of only one document in the patients’ medical

11   records, the Master Mental Health Plan. (Id. at 279:8-280:3.) Furthermore, Dr. Stewart did not

12   offer specific details on these patients as his testimony and opinions were based on a cursory

13   review of limited patient records and data on a spreadsheet created by Plaintiffs’ counsel. (Id.

14   267:18-268:2.) While Dr. Stewart reviewed the records for a subset of 11 patients, Plaintiffs only

15   provided Defendants those patients’ names—not the records that Dr. Stewart reviewed, which he

16   limited to a set period of time. (ECF No. 6922; Thorn Decl. Ex B.)

17         Further, Dr. Stewart provided no testimony to establish that patients who waited beyond

18   Program Guide timelines for transfer to DSH suffered any actual harm. (10/23/20 Hrg. Tr. at

19   280:15-281:1.) And when asked whether the conditions the patients suffered as a result of delay

20   in admission to an inpatient setting could also afflict patients admitted to inpatient care at DSH,
21   he acknowledged such opinions would be speculation without having actually examined the

22   patients. (Id. at 280:5-14.) On the other hand, Dr. Mehta testified that patients in the PIPs

23   waiting for admission to DSH are receiving care, including individual appointments, recreational

24   therapy, group-building and morale-building exercises, and rounding. (Id. at 299:13-300:11.)

25         Dr. Stewart’s testimony regarding mental health treatment under COVID-19 conditions is

26   based on his work with the Illinois Department of Corrections and work at an inpatient unit at a
27   hospital in Hawaii. (Id. at 260:2-13; 262:5-19.) There is no evidence that Dr. Stewart was

28   provided any information concerning the mitigation of treatment as a result of COVID-19 in
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 1   CDCR or DSH. He did not review any information from the COVID-19 operational dashboard

 2   that tracks the mental health care provided to the patients during COVID-19 (id. at 281:21-282:6),

 3   nor did he consider any policies regarding patient care or movement within CDCR or DSH,

 4   including the movement matrix, the COVID-19 inpatient transfer policies, or the DSH transfer

 5   guidelines, even though these policies were designed to weigh risks of movement against the need

 6   to continue to provide care. (Id. at 161:21-162:7.) Like Dr. Lauring, Dr. Stewart’s testimony

 7   does little to address the Court’s three questions.

 8                                               CONCLUSION
 9         The evidence shows that Defendants’ COVID-19 policies and guidelines are working to

10   transfer Coleman class members as safely as possible to inpatient beds at DSH during the

11   continually evolving pandemic. Defendants’ COVID-19 screening and transfer guidelines

12   properly balance the risks of spreading the disease with the benefits of transfer to inpatient beds

13   and comport with public health guidance. DSH has accepted all but one patient referred during

14   the pandemic, and transferred all but those patients currently housed at CDCR facilities with

15   uncontrolled outbreaks of COVID-19, where the risk of potential transmission is too great at this

16   time. Any order requiring immediate transfers would contradict public health advice, infringe

17   upon Defendants’ discretion to operate their prison and hospital systems, and would threaten the

18   safety of class members. If the Court established the COVID-19 Task Force to monitor and

19   address the ever-changing nature of the pandemic, Defendants submit any changes to their

20   transfer policies be addressed in that forum, not in further adversarial trial proceedings.
21   Dated: November 13, 2020                                 Respectfully Submitted,
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23
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